This action was for slander, and in order to prove the defamatory words charged, the deposition of one Green was read in evidence by the plaintiff. To contradict Green, two witnesses were examined by the defendant to prove that, subsequently to the taking of the deposition, he had made to them a statement different from the one he had deposed to. This testimony was objected to by the plaintiff, for the reason that the usual preliminary questions had not been put to the witness, whereby all opportunity to explain himself was cut off. The objection was overruled by the court, and the witnesses examined. There was a verdict for the defendant, and from the judgment thereon the plaintiff appealed.
The general rule is as stated by the plaintiff, but, like all others, it is subject to exceptions. In the nature of things, it could not apply to this case. The declarations of Green offered in evidence to contradict him were made after his deposition was taken. How, then, could the previous questions be put to him? Surely, it could not be required of the defendant to take the deposition of Green over again, and thereby make him his witness. In such a case it might well be questioned whether the subsequent declarations could have been used by the defendant.
PER CURIAM.                                             No error.
Cited: Hooper v. Moore, 48 N.C. 429.
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